Case 2:12-md-02323-AB Document 9778-3 Filed 03/15/18 Page 1 of 4




       Exhibit C
      (Redacted)
Case 2:12-md-02323-AB Document 9778-3 Filed 03/15/18 Page 2 of 4
        Case 2:12-md-02323-AB Document 9778-3 Filed 03/15/18 Page 3 of 4
Gail Milon
March 7, 2018
Page 2

and if so, identify the nature of the audit, the person performing the audit, and when you expect it
to be completed.

Additionally, for several of the “accountings,” handwritten changes have been made. For example,
as to               , a $50,000 entry and corresponding total of $220,000 was stricken and a new
total of $170,000 was handwritten. As another example, for            , an entry reflecting a deposit
of $24,995 on 11/22/2016 was handwritten, along with a corresponding new total figure of $39,995.
Since these “accountings” are purportedly “As of February 28, 2018,” please explain why there are
handwritten changes reflecting deposits from over a year ago. I need an explanation as to the reason
for each handwritten notation, as well as which figures are accurate as of today – the handwritten
or the typewritten figures.

Further, please clarify where the funds are being held, with whom they are invested, who controls
the investments, and how the funds are invested. Some “accounting” documents reference both
Millennium Trust (under the “Memo” column heading) and Bank of America (under the “Split”
column heading). Please explain what is meant by “Split”. Also, explain why you have produced
Millennium documents for the Class Members, but not Bank of America documents. Please
produce any corresponding Bank of America documents.

Because we may be seeking documents directly from Millennium Trust Company, please provide
the name and email address or telephone number of Cambridge’s contact at Millennium. If there
are other financial institutions that are maintaining the Class Members’ IRA monies or non-
retirement invested funds for Cambridge, please identify them and provide contact information.

Kindly confirm that the ten persons listed above are the only Class Members whose retirement
funds were invested with Cambridge. We have information that others, including             ,
may have retirement funds invested with Cambridge. Please double-check your files and let me
know.

Finally, we do not view these “accountings” as sufficient in terms of complying with the Court’s
directive in the February 20, 2018 Order requiring Cambridge to “produce complete accounting of
all retirement funds provided to Cambridge Entities.” Some monies have been deposited for over
two years. The balances on the accounts cannot simply be the amounts deposited. Please provide
the current balance information, including the interest and/or the gains/losses from initial deposits,
based upon the present value of each Class Member’s investment(s), and describe the nature of the
investment(s). We also do not view these “accountings” as sufficient because, as noted above,
where the funds are being held, with whom they are invested, who controls the investments, and
how the funds are invested has not been provided.

In addition to providing what Cambridge purports to be accountings, you have also provided certain
contracts and other documents signed by each Class Member in individual files. However, the
documents that are noticeably absent from every file are the documents which are referenced in the
Cambridge Capital Partners, L.P. Subscription Agreement and Power of Attorney, namely, (1) the
Limited Partnership Agreement and (2) the Private Offering Memorandum (POM). Please produce
        Case 2:12-md-02323-AB Document 9778-3 Filed 03/15/18 Page 4 of 4
Gail Milon
March 7, 2018
Page 3

those documents, and to the extent they changed over time, or were unique for each Class Member,
please provide all versions.




                                                Very truly yours,

                                                Christopher A. Seeger
                                                Co-Lead Class Counsel
